 1   MICHAEL A. JACOBS (CA SBN 111664)
     MJacobs@mofo.com
 2   ARTURO J. GONZÁLEZ (CA SBN 121490)
     AGonzález@mofo.com
 3   MORRISON & FOERSTER LLP
     425 Market Street
 4   San Francisco, California 94105-2482
     Tel: 415.268.7000 / Fax: 415.268.7522
 5
     KAREN L. DUNN (Pro Hac Vice)
 6   kdunn@bsfllp.com
     HAMISH P.M. HUME (Pro Hac Vice)
 7   hhume@bsfllp.com
     BOIES SCHILLER FLEXNER LLP
 8   1401 New York Avenue, N.W.
     Washington, D.C. 20005
 9   Tel: 202.237.2727 / Fax: 202.237.6131

10   WILLIAM CARMODY (Pro Hac Vice)
     bcarmody@susmangodfrey.com
11   SHAWN RABIN (Pro Hac Vice)
     srabin@SusmanGodfrey.com
12   SUSMAN GODFREY LLP
     1301 Avenue of the Americas, 32nd Floor
13   New York, NY 10019-6023
     Tel: 212.336.8330 / Fax: 212.336.8340
14

15   Attorneys for Defendants
     UBER TECHNOLOGIES, INC.
16   and OTTOMOTTO LLC

17                                UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
                                        SAN FRANCISCO DIVISION
19

20

21   WAYMO LLC,                                       Case No. 3:17-cv-00939-WHA

22                         Plaintiff,                 DEFENDANTS UBER
                                                      TECHNOLOGIES, INC. AND
23          v.                                        OTTOMOTTO LLC’S FURTHER
                                                      RESPONSE REGARDING UNJUST
24   UBER TECHNOLOGIES, INC.,                         ENRICHMENT
     OTTOMOTTO LLC; OTTO TRUCKING LLC,
25                                                    Trial Date: February 5, 2018
                           Defendants.
26

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     UBER’S FURTHER RESPONSE RE UNJUST ENRICHMENT
     Case No. 3:17-cv-00939-WHA
     sf-3851375
 1          Defendants Uber Technologies, Inc. and Ottomotto LLC (“Uber”) respectfully submit the

 2   following response to the Court’s December 15, 2017 Order (Dkt. 2404), which asks:

 3      “Do both sides agree that acquisition alone can be enough to support an unjust enrichment
        award under both CUTSA and DTSA? The Court had understood that Waymo’s unjust
 4      enrichment theory in our case depended on use or disclosure. Has Waymo preserved an
        unjust enrichment theory based on acquisition alone?”
 5

 6          While Uber agrees that the statutory text of the CUTSA and DTSA does not expressly

 7   preclude an unjust enrichment award based on acquisition alone, no case has ever granted such an

 8   award, and Uber cannot envision any scenario in which acquisition alone would be legally

 9   sufficient to support such an award. To succeed on any unjust enrichment damages theory based

10   on acquisition alone, a party would have to show an enrichment of some type and prove that such

11   enrichment was proximately caused by acquisition alone. See Cal. Civ. Code § 3426.3(a) (“A

12   complainant also may recover for the unjust enrichment caused by misappropriation that is not

13   taken into account in computing damages for actual loss.”) (emphasis added); 18 U.S.C.

14   § 1836(b)(3)(B)(i) (limiting recovery to “damages for any unjust enrichment caused by the

15   misappropriation of the trade secret that is not addressed in computing damages for actual loss”)

16   (emphasis added). Unlike with actual loss, it is not possible to envision a scenario where unjust

17   enrichment would be caused by mere acquisition without any type of use or disclosure.

18          In any event, the Court need not decide whether there is a theoretical possibility that some

19   plaintiff under a different set of facts might be able to prove unjust enrichment based solely on

20   acquisition, because Waymo clearly cannot. Waymo’s unjust enrichment theory in this case has

21   always been premised on use (including future use). Waymo has never disclosed even a general

22   unjust enrichment theory based solely on acquisition, let alone any type of computation. The jury

23   should not be instructed on a theory that no evidence supports and which was not properly

24   preserved. See CACI 4401, Misappropriation of Trade Secrets—Essential Factual Elements,

25   Directions for Use (“To avoid confusion, instruct the jury only on the particular theory of

26   misappropriation applicable under the facts of the case. For example, the jury should not be

27   instructed on misappropriation through ‘use’ if the plaintiff does not assert that the defendant

28   improperly used the trade secrets. Nor should the jury be instructed on a particular type of ‘use’
     UBER’S FURTHER RESPONSE RE UNJUST ENRICHMENT                                                       1
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 1   if that type of ‘use’ is not asserted and supported by the evidence.”).

 2          A. Waymo’s Initial Disclosures Fail to Preserve Acquisition Damages Theory

 3          To have preserved an unjust enrichment theory based on acquisition alone, Waymo was

 4   required to have disclosed “a computation” of those damages. Fed. R. Civ. P. 26(a)(1)(A)(iii);

 5   see also Brandywine Commc’ns Techs., LLC v. Cisco Sys., Inc., No. C 12-01669 WHA, 2012 WL

 6   5504036, at *1-2 (N.D. Cal. Nov. 13, 2012); Easton v. Asplundh Tree Experts, Co., No. C16-

 7   1694, 2017 WL 5483769, at *4 (W.D. Wash. Nov. 15, 2017) (excluding damages evidence for

 8   violating Rule 26 because “making certain documents available and promising that someone (in

 9   this case Plaintiff) will testify regarding damages is not a ‘computation’ and fails to apprise

10   Defendant of the extent of its exposure in this case”); Hoffman v. Constr. Protective Servs., Inc.,

11   541 F.3d 1175, 1179-80 (9th Cir. 2008) (affirming preclusion of evidence of undisclosed

12   damages where plaintiff failed to provide a Rule 26 computation: “Finally, we reject the notion

13   that the district court was required to make a finding of willfulness or bad faith to exclude the

14   damages evidence. To the contrary, the portion of Rule 37 relied on by the district court has been

15   described as ‘a self-executing, automatic sanction to provide a strong inducement for disclosure

16   of material.’”) (citation omitted).

17          To this day, Waymo has not disclosed even a general theory of unjust-enrichment-by-

18   acquisition, let alone a computation of such enrichment. Waymo served its initial disclosures on

19   April 3, 2017, supplemented on June 21, 2017, and then served a “corrected” disclosure on

20   June 22, 2017. This is the entirety of Waymo’s final Rule 26 damages disclosure:

21          Waymo believes it has suffered and is suffering irreparable harm as a result of
            Defendants’ trade secret misappropriation and patent infringement. In addition,
22          Waymo believes it is entitled to damages for Defendants’ trade secret
            misappropriation, as well as Defendants’ patent infringement, including damages
23          based on a calculation of lost profits or an amount no less than a reasonable
24          royalty. In connection with these calculations, Waymo may rely on its estimates of
            future profits and cash flows; its assessments and projections regarding the
25          relevant markets, competition therein, and its competitive position; and its
            investment in LiDAR technology (in time, capital, engineering costs, and other
26          expenditures). Waymo also expects to rely on materials that are being or will be
            produced by Uber and third parties.
27
28          Waymo further seeks a judgment that this case is exceptional and an award of
     UBER’S FURTHER RESPONSE RE UNJUST ENRICHMENT                                                        2
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 1          Waymo’s costs and reasonable attorneys’ fees. Waymo also seeks an accounting
            of all sales and revenues, together with pre-judgment and post-judgment interest.
 2          Waymo further seeks enhanced damages for Defendants’ willful and malicious
 3          conduct in misappropriating Waymo’s trade secrets, punitive damages, and other
            relief including but not limited to disgorgement of profits from unjust
 4          enrichment. Waymo seeks any other relief available under applicable law. It
            would be premature to estimate the amount of damages at this time.
 5

 6   Dkt. 797-3 at 19-20 (emphasis added).

 7          Waymo’s generalized request for a “disgorgement of profits from unjust enrichment” is

 8   both (i) plainly inadequate to disclose and preserve a claim of unjust enrichment based on

 9   acquisition alone and (ii) inconsistent with an acquisition-based claim, since autonomous vehicle

10   profits would necessarily be based on actual use of the trade secrets.

11          B. Waymo’s Interrogatory Responses Fail to Preserve Acquisition Damages Theory

12          Uber also served a damages interrogatory asking Waymo to “describe in the detail the

13   complete basis for any damages You contend You have suffered or will suffer.” Dkt. 2252-4 at 4.

14   Waymo responded on July 17, supplemented on August 10, and supplemented again on

15   August 24. None of these interrogatory responses disclose an unjust enrichment damages theory

16   based on acquisition alone, describe acts upon which such a theory could be based, or provide any

17   computation of such enrichment. See, e.g., id. at 4-22, 32-46, 53-68. To the contrary, the

18   responses make clear that Waymo is seeking unjust enrichment based on use. See id. at 56

19   (“Another measure of unjust enrichment to Defendants is the expected cost savings to Defendants

20   from using Waymo’s trade secrets in Uber’s LiDAR systems.”) (emphasis added); id. at 57

21   (“Another measure of unjust enrichment to Defendants is the expected cost savings due to

22   reduced development expenses from using Waymo’s trade secrets in Uber’s LiDAR systems.”)

23   (emphasis added); id. at 60 (“Waymo suspects that a substantial portion of the unjust enrichment

24   would be attributable to the most valuable trade secrets. Since Uber and Waymo are racing to

25   commercialize autonomous vehicles, accelerating the development timeline was important to

26   Uber. [] Thus, Waymo presumes that Defendants made use of the most important and most

27   valuable trade secrets first.”) (emphasis added).

28
     UBER’S FURTHER RESPONSE RE UNJUST ENRICHMENT                                                   3
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 1           C. Waymo’s Damages Expert Confirmed No Acquisition Damages Theory

 2           Waymo’s damages expert, Michael Wagner, confirmed both in his report and at his

 3   deposition that Waymo is not seeking unjust enrichment damages based on acquisition alone.

 4   Both his opening and reply reports made no mention of any unjust enrichment by acquisition, and

 5   his unjust enrichment theory was premised on use (including future use) of the trade secrets.

 6           As Mr. Wagner confirmed at his deposition, all of his damages theories would no longer

 7   be applicable if Uber jettisoned its Fuji project (i.e., if Uber did not use the trade secrets):

 8           Q       [] And if Uber does, in fact, does not go to market with the Fuji LiDAR,
                     your opinion is they are not applicable, right?
 9
             MR. EISEMAN:            Objection as to form.
10           A       Incomplete hypothetical. If they then do something else that has no use of
                     the trade secrets, the answer would be yes.
11
             Q       (BY MR. BERRY) For example, if Uber were to go back to -- and use
12                   Velodyne and go to market with Velodyne LiDAR, there would be no
                     damages, right?
13
             MR. EISEMAN:            Objection as to form.
14
             A       Again, as a damage expert, that would be my opinion, if you asked me.
15

16   See Dkt. 1786-3 (Wagner Dep.) at 143:6-19 (emphasis added). Mr. Wagner’s confirmation that

17   there would be no damages if Uber were to use Velodyne demonstrates that Waymo is not

18   seeking unjust enrichment damages based on acquisition alone.

19                                                     ***

20           In short, Waymo has not preserved an unjust enrichment theory based on acquisition

21   alone, and its damages expert confirmed that Waymo’s unjust enrichment theories are not

22   premised on acquisition alone.

23   Dated: December 18, 2017                        MORRISON & FOERSTER LLP
                                                     BOIES SCHILLER FLEXNER LLP
24                                                   SUSMAN GODFREY LLP
25
                                                     By: /s/ William Christopher Carmody
26                                                       WILLIAM CHRISTOPHER CARMODY
27                                                         Attorneys for Defendants
                                                           UBER TECHNOLOGIES, INC. and
28                                                         OTTOMOTTO LLC
     UBER’S FURTHER RESPONSE RE UNJUST ENRICHMENT                                                       4
     Case No. 3:17-cv-00939-WHA
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 1                           ATTESTATION OF E-FILED SIGNATURE

 2          I, Arturo J. González, am the ECF User whose ID and password are being used to file this

 3   Further Response Re Unjust Enrichment. In compliance with Civil L.R. 5-1(i)(3), I hereby attest

 4   that William Christopher Carmody has concurred in this filing.

 5   Dated: December 18, 2017                               /s/ Arturo J. González
                                                             ARTURO J. GONZÁLEZ
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     UBER’S FURTHER RESPONSE RE UNJUST ENRICHMENT                                               5
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